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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

DAVID CHARLES SUSSMAN,

             Petitioner,

v.                                            Case No.: 4:20cv412-MW/EMT


SECRETARY DEP’T OF
CORRECTIONS,

          Respondent.
_________________________/

        ORDER ACCEPTING REPORT AND RECOMMENDATION

      This Court has considered, without hearing, the Magistrate Judge's Report and

Recommendation, ECF No. 45, and has also reviewed de novo Petitioner’s

objections, ECF No. 47. This Court has also considered, without hearing,

Petitioner’s motion for leave to file a second amended habeas petition. ECF No. 46.

Petitioner seeks leave to file a second amended petition to “clarify that [Inmate]

Brooks had already told Sussman his testimony would support Sussman’s defense.”

See ECF No. 46 ⁋ 4. In Petitioner’s objections, he states, “Brooks personally told

me he never received a DR for attacking me, was very remorseful, and fully intended

to testify that he attacked me, and I never tried to hit him in defense.” ECF No. 47 ⁋

3.
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      Neither Petitioner’s objections, nor his motion for leave to file a second

amended habeas petition changes the Magistrate Judge’s conclusion that Petitioner

has not shown that he was actually prejudiced in the DR proceedings, as set forth in

the last two paragraphs of the analysis of Ground Two on pages 18-19 of the report

and recommendation. Petitioner’s assertions as to what Brooks said are still

speculative. Moreover, the DR team considered evidence supporting Petitioner’s

defense, specifically, Petitioner’s own statements and those of Inmate Pagano.

Accordingly,

      IT IS ORDERED:

      The report and recommendation, ECF No. 45, is accepted and adopted, over

the Petitioner’s objections, as this Court’s opinion. Petitioner’s motion for leave to

file a second amended habeas petition, ECF No. 46, is DENIED. The Clerk shall

enter judgment stating, “Petitioner’s amended habeas petition challenging FDOC

DR Log Nos. 102-160772 and 102-160773, ECF No. 33, is DENIED.” A certificate

of appealability is DENIED. The Clerk shall close the file.

      SO ORDERED on October 1, 2021.

                                       s/Mark E. Walker
                                       Chief United States District Judge




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